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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

HOMELAND INSURANCE COMPANY OF
NEW YORK,
       Plaintiff,                                           CIVIL ACTION NO. 1:20-CV-783
v.
CLINICAL PATHOLOGY
LABORATORIES, INC., AND SONIC
HEALTHCARE USA, INC.,
       Defendants.


     DEFENDANTS’ OPPOSED MOTION FOR LEAVE TO FILE A ONE-PAGE
SUR-REPLY TO PLAINTIFF’S REPLY IN SUPPORT OF ITS MOTIONS TO COMPEL

       Defendants seek leave to file a one-page sur-reply to correct Plaintiff’s misstatement, in its

reply brief in support of its motions to compel, that Defendants’ brief responding to those motions

was “late.” See Dkt. Nos. 157 & 158 at 2, n.1. Sur-replies are appropriate when they address

misstatements made in reply. See, e.g., Gonzalez v. CNL Wings, No. 14-CA-886, 2015 WL

10818674, at *6 (W.D. Tex. Mar. 24, 2015) (granting motion for leave to file a sur-reply “needed

to correct a misstatement made [in] reply”); Ranch v. City of San Antonio, No. 10-CV-316, 2011

WL 13114906, at *2 (W.D. Tex. Sept. 29, 2011) (granting motion for leave to file a sur-reply

designed to “correct” statements made in reply brief).

       Here, Plaintiff asserted in reply that Defendants’ response was “late,” even though

Defendants filed it within the time constraints set forth by Local Rule CV-7(b). See Dkt. Nos. 157

& 158 at 2, n.1. Defendants brought Local Rule CV-7(b) to the attention of Plaintiff and requested

that Plaintiff file a corrected brief. Plaintiff refused, and so Defendants now seek leave to file the

one-page sur-reply that is attached as Exhibit B to address and rebut Plaintiff’s incorrect assertion.
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For the Court’s convenience, a proposed order is attached at Exhibit A. Defendants conferred with

Plaintiff in advance of filing this motion and Plaintiff indicated its opposition.

                                              *       *       *

Dated: October 24, 2022
                                                       Respectfully submitted,


                                                       By: /s/ Ernest Martin
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                                                           ATTORNEYS FOR DEFENDANTS




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                             CERTIFICATE OF CONFERENCE

        I hereby certify that, consistent with Local Court Rule CV-7(i), counsel for Defendants and
counsel for Plaintiff conferred by e-mail regarding this motion prior to its filing and were unable
to reach an agreement regarding the same.

                                                         /s/ Greg Van Houten
                                                             Greg Van Houten


                                CERTIFICATE OF SERVICE

       I hereby certify that, consistent with Local Court Rule CV-5, a true and correct copy of the
foregoing was sent to all parties of record pursuant to the Electronic Filing Procedures and the
Federal Rules of Civil Procedure on this 24th day of October 2022.

                                                         /s/ Ernest Martin
                                                             Ernest Martin
